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                            IN THTI TJNITED STATTS DIS-|RICT COI.JRT
                            r.ORTHT NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

 SI'tiCl'RtJM 'W'f, el ul .,

             Plaintifl's.

 V                                                             2:23-CV-048-Z

 WALTER WENDLER, s/ ul.,

             Defbndants.

                                               ORDER

        Befbre the Court is Plaintiffs' Unopposed Motion fbr Rule 54(b) Certification of Final Judgment

on the Fourth Cause of Action in Plaintiffs' First Amended Complaint ("Motion") (ECF No. 60), filed

on September26.2023. The F'ourth Cause of Action of Plaintifls' Amended Complaint seeks damages

under42 U.S.C. $ 1983 against Defbndant Walter Wendler in his individual capacity fbrallegedly

violating Plaintiffs' First Amendment rights. ECF Nos. 60 at I ;28 at4247.

        On September 2l ,2023, this Court entered a Memorandum Opinion and Order granting

President Wendler's Motion to Dismiss that claim. ruling that President Wendler is entitled to qualified

immunity. ECF No. 59 at 8. In the same Memorandum Opinion and Order, this Court also denied

Plaintift's' Amended Motion fbr a Preliminary Injunction. Id. at l. As Plaintiffs note, under 28 U.S.C

g 1292(a)(l), Plaintiflb can immediately appeal the denial of their Amended Motion fbr Preliminary

Injunction. ECF No. 60 at2. And Plaintiffs are doing so. ld.: ECF No.6l. Now, Plaintifl's request

cerlification of final judgment on the Fourth Cause of Action of their Amended Complaint "[t]o

facilitate the expeditious and fulsome review of the controlling First Amendment legal questions in this

case." ECF No. 60 at2.
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        Federal Rule of Civil Procedure 54(b) provides that this Court "may direct entry of a final

judgment as to one or more, but fewer than all, claims or parties only if the court expressly determines

that there is no just reason for delay." "Rule 54(b) judgments are not favored, and should be awarded

only when necessary to avoid injustice." SMH Enlerprises, L.L.C. v. Krispy Krunchy Foods,LLC.,

No. CV 20-2970,2021 WL 5630892, at *2 (E.D. La. Dec. 1,2021). "Not all final judgments on

individual claims should be immediately appealable, even if they are in some sense separable from

the remaining unresolved claims." Curtiss-Wright L'orp. v. Gen. Elec. Co.,446 U.S. l, 8 (1980).

In deciding whether there are "no just reasons to delay," a district court "must take into account judicial

administrative interests as well as the equities involved." Curtiss-Wright Corp.,446 U.S. at 8.

        Here, the analyses concerning Plaintiffs' Fourth Cause of Action remain fact-intensive and

underdeveloped. These analyses relate to the nature of the purported message that Plaintif1b'conduct

expresses, the relevant forum within which that conduct would take place, "time, place, and manner"

considerations, and others. See ECF No. 59 at 5-7. And the development of these factual analyses is

highly relevant to the corresponding questions of law. Accordingly, the Court cannot say that these

analyses merit no further exploration or that there is no just reason fbr delay. Nor can the Court say that

administrative interests or equities involved would be clearly served by a direct entry ofjudgment here.

For these reasons, the Court DENIES the Motion.

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